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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
 Case No.          CV17-5721CAS(AFMx)                                              Date   December 4, 2017
 Title             Fabric Selection, Inc. v. Topson Downs of California, Inc., et al.



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                  Connie Lee                                 Laura Elias                           N/A
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                         Stacey Knox                                            Brittany Elias
 Proceedings:                  SCHEDULING CONFERENCE

      Hearing held and counsel are present. The Court confers with counsel and
schedules the following dates:

Request for leave to file amended pleadings or to add parties: March 16, 2018 ;
Settlement Completion Cutoff: April 6, 2018 ;
Factual Discovery Cut-off: July 2, 2018 ;
Last Day to File Motions: July 6, 2018 ;
Status Conference re: Settlement (11:00 A.M.): April 16, 2018 ;
Pretrial Conference/Hearing on Motions in Limine (11:00 A.M.): October 15, 2018 ;
and
Jury Trial (9:30 A.M.): October 30, 2018 .

Motions in limine shall be noticed for the same date and time of the Pretrial Conference,
and filed 28 days prior thereto. Motions in limine/oppositions shall not exceed five (5)
pages in length and no replies will be accepted.

Counsel inform the court of the parties’ preference to go before a private mediator for
settlement purposes.


                                                                                          00      :      06
                                                                Initials of Preparer              CL
cc: ADR




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